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   7
       Attorneys for Defendant
   8   Trader Joe’s Company
   9
                          UNITED STATES DISTRICT COURT
  10
                        SOUTHERN DISTRICT OF CALIFORNIA
  11
  12
       IN RE TRADER JOE’S COMPANY              Case No. 3:23-cv-00061-RBM-KSC
  13   DARK CHOCOLATE LITIGATION
                                               DECLARATION OF DAWN
  14                                           SESTITO IN SUPPORT OF
                                               DEFENDANT TRADER JOE’S
  15                                           COMPANY’S REQUEST FOR
                                               JUDICIAL NOTICE
  16
                                               Judge: Ruth Bermudez Montenegro
  17                                           Hearing Date: August 7, 2023
  18                                           NO ORAL ARGUMENT UNLESS
                                               ORDERED BY THE COURT
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                                                        DECLARATION OF DAWN SESTITO
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   1                        DECLARATION OF DAWN SESTITO
   2         I, Dawn Sestito, declare as follows:
   3         1.     I am a member of the State Bar of California. I am a partner in the law
   4   firm of O’Melveny & Myers LLP, attorneys for Trader Joe’s Company (“Trader
   5   Joe’s”) in this litigation. I submit this declaration in support of Trader Joe’s Motion
   6   to Dismiss Plaintiffs’ Consolidated Complaint. I have personal knowledge of the
   7   facts set forth below, and if called upon, I could and would testify to the truth
   8   thereof.
   9         2.     Attached hereto as Exhibit A is a true and correct copy of the
  10   Complaint in As You Sow v. Trader Joe’s, Inc., No. CGC-15-548791, filed in the
  11   San Francisco Superior Court on November 3, 2015. It is publicly accessible
  12   through the Court’s website. The As You Sow lawsuit is referenced in paragraphs
  13   162 and 226 of Plaintiffs’ Complaint.
  14         3.     Attached hereto as Exhibit B is a true and correct copy of the Consent
  15   Judgment entered by the San Francisco Superior Court in As You Sow v. Trader
  16   Joe’s, Inc., No. CGC-15-548791, on February 15, 2018. It is publicly accessible
  17   through the Court’s website, as well as on the California Office of the Attorney
  18   General’s website at https://oag.ca.gov/system/files/prop65/judgments/2014-
  19   01160J3733.PDF. This Consent Judgment is referenced in paragraphs 162 and 226
  20   of Plaintiffs’ Complaint.
  21         4.     Attached hereto as Exhibit C is a true and correct copy of the U.S.
  22   Food and Drug Administration’s (“FDA”) November 2006 publication entitled
  23   “Guidance for Industry: Lead in Candy Likely To Be Consumed Frequently by
  24   Small Children.” It is publicly accessible on the FDA’s website at
  25   https://www.fda.gov/regulatory-information/search-fda-guidance-documents/
  26   guidance-industry-lead-candy-likely-be-consumed-frequently-small-children.
  27         5.     Attached hereto as Exhibit D is a true and correct copy of the FDA’s
  28   November 2006 publication entitled “Supporting Document for Recommended
                                                                DECLARATION OF DAWN SESTITO
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   1   Maximum Level for Lead in Candy.” It is publicly accessible on the FDA’s
   2   website at https://www.fda.gov/food/environmental-contaminants-food/supporting-
   3   document-recommended-maximum-level-lead-candy-likely-be-consumed-
   4   frequently-small.
   5         6.     Attached hereto as Exhibit E is a true and correct copy of the FDA’s
   6   August 2020 publication entitled “Supporting Document for Action Level for
   7   Inorganic Arsenic in Rice Cereal for Infants.” It is publicly accessible on the
   8   FDA’s website at https://www.fda.gov/media/97121/download.
   9         7.     Attached hereto as Exhibit F is a true and correct copy of the FDA’s
  10   March 3, 2023 publication entitled “Closer to Zero: Reducing Childhood Exposure
  11   to Contaminants from Foods.” It is publicly accessible on the FDA’s website at
  12   https://www.fda.gov/food/environmental-contaminants-food/closer-zero-reducing-
  13   childhood-exposure-contaminants-foods.
  14         8.     Attached hereto as Exhibit G is a true and correct copy of the FDA’s
  15   April 8, 2021 publication, entitled “FDA Releases Action Plan for Reducing
  16   Exposure to Toxic Elements from Foods for Babies, Young Children.” It is
  17   publicly accessible on the FDA’s website at https://www.fda.gov/news-
  18   events/press-announcements/fda-releases-action-plan-reducing-exposure-toxic-
  19   elements-foods-babies-young-children.
  20         9.     Attached hereto as Exhibit H is a true and correct copy of the FDA’s
  21   March 5, 2021 publication entitled “FDA Announces New Actions Aimed at
  22   Further Reducing Toxic Elements in Food for Babies, Young Children.” It is
  23   publicly accessible on the FDA’s website at https://www.fda.gov/news-events/
  24   press-announcements/fda-announces-new-actions-aimed-further-reducing-toxic-
  25   elements-food-babies-young-children.
  26         10.    Attached hereto as Exhibit I is a true and correct copy of the FDA’s
  27   January 24, 2023 publication entitled “FDA Announces Action Levels for Lead in
  28   Categories of Processed Baby Foods.” It is publicly accessible on the FDA’s
                                                               DECLARATION OF DAWN SESTITO
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   1   website at https://www.fda.gov/news-events/press-announcements/fda-announces-
   2   action-levels-lead-categories-processed-baby-foods.
   3         11.    Attached hereto as Exhibit J is a true and correct copy of the article
   4   entitled “Lead and Cadmium Could Be in Your Dark Chocolate,” authored by
   5   Kevin Loria and published by Consumer Reports on December 15, 2022. It is
   6   publicly accessible on Consumer Reports’ website at
   7   https://www.consumerreports.org/health/food-safety/lead-and-cadmium-in-dark-
   8   chocolate-a8480295550/, and cited in footnote 8 of Plaintiffs’ Complaint and again
   9   repeatedly throughout.
  10         12.    Attached hereto as Exhibit K is a true and correct copy of the January
  11   2023 Consumer Reports publication entitled “Test Methodology: Heavy Metals in
  12   Chocolate Bars.” It is publicly accessible on Consumer Reports’ website at
  13   https://article.images.consumerreports.org/image/upload/v1672933163/prod/
  14   content/dam/CRO-Images-2022/Special%20Projects/Consumer_Reports_Test_
  15   Methodology_for_Heavy_Metals_in_Chocolate_Bars_-_January_2023.pdf, and
  16   cited in footnote 12 of Plaintiffs’ Complaint.
  17         13.    Attached hereto as Exhibit L is a true and correct copy of a screenshot
  18   of As You Sow’s purported 2022 test results, filtered to “Trader Joe’s,” as
  19   published on As You Sow’s website at https://www.asyousow.org/environmental-
  20   health/toxic-enforcement/toxic-chocolate#chocolate-tables, and cited in paragraph
  21   133 and footnote 62 of Plaintiffs’ Complaint.
  22         14.    Attached hereto as Exhibit M is a true and correct copy of the
  23   California Office of Environmental Health Hazard Assessment’s (“OEHHA”)
  24   August 1, 2017 publication entitled “Proposition 65 in Plain Language.” It is
  25   publicly accessible on OEHHA’s website at https://oehha.ca.gov/proposition-
  26   65/general-info/proposition-65-plain-language.
  27         15.    Attached hereto as Exhibit N is a true and correct copy of the front
  28   and back label designs for Trader Joe’s The Dark Chocolate Lover’s Chocolate Bar,
                                                               DECLARATION OF DAWN SESTITO
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   1   Trader Joe’s 73% Cacao Super Dark Dark Chocolate Bar, Trader Joe’s Swiss 72%
   2   Cacao Dark Chocolate Bar, and Trader Joe’s Pound Plus 72% Cacao Dark
   3   Chocolate Bar. Images of the front labels of these products appear in paragraph 69
   4   of Plaintiffs’ Complaint.
   5
   6         I declare under penalty of perjury that the foregoing is true and correct.
   7   Executed on June 12, 2023, at Los Angeles, California.
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   9                                            By:        /s/ Dawn Sestito
                                                             Dawn Sestito
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                                                             DECLARATION OF DAWN SESTITO
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